Case 2:08-cr-00042-JES-SPC Document 95 Filed 12/01/08 Page 1 of 5 PageID 319



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA

vs.                                                 2:08-cr-42-FtM-99SPC

GEORGE E. HALL, III,
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on Defendant George E.

Hall, III’s Motion To Sever (Doc. #94), filed on November 25, 2008.

Defendant seeks a severance because if tried with the three co-

defendants he will be portrayed in an unflattering light because of

the actions of the co-defendants.

      There is a two-step inquiry to determine whether charges may

be properly tried at the same time:         First, the government must

demonstrate that the initial joinder of the offenses was proper

under Rule 8.    Second, the Court must exercise its discretion in

determining whether a severance should nonetheless be granted under

Rule 14.    United States v. Gabay, 923 F.2d 1536, 1539 (11th Cir.

1991); United States v. Montes-Cardenas, 746 F.2d 771, 776 (11th

Cir. 1984).

      The   joinder   of   multiple   defendants    in   an   indictment is

governed by FED . R. CRIM . P. 8(b), which provides:

            The indictment or information may charge 2 or
            more defendants if they are alleged to have
            participated in the same act or transaction,
            or in the same series of acts or transactions,
            constituting an offense or offenses.       The
Case 2:08-cr-00042-JES-SPC Document 95 Filed 12/01/08 Page 2 of 5 PageID 320



           defendants may be charged in one or more
           counts   together   or   separately.      All
           defendants need not be charged in each count.

Joinder of defendants under Rule 8(b) is a question of law.          United

States v. Dominguez, 226 F.3d 1235, 1238 (11th Cir. 2000); United

States v. Wilson, 894 F.2d 1245, 1252-53 (11th Cir. 1990), cert.

denied sub nom. Levine v. United States, 497 U.S. 1029 (1990);

United States v. Morales, 868 F.2d 1562, 1567 (11th Cir. 1989).

Rule 8(b) is designed to promote judicial economy and efficiency,

and the rule is broadly construed in favor of initial joinder.

Dominguez, 226 F.3d at 1238; United States v. Weaver, 905 F.2d

1466, 1476 (11th Cir. 1990), cert. denied sub nom. Sikes v. United

States, 498 U.S. 1091 (1991).      The general rule is that defendants

who are jointly indicted should be tried together.          United States

v. Cross, 928 F.2d 1030, 1037 (11th Cir. 1991), cert. denied 502

U.S. 985 (1991); United States v. Perez-Garcia, 904 F.2d 1534, 1547

(11th Cir. 1990).    Absent allegations of bad faith, the question of

whether initial joinder is proper is determined by an examination

of the allegations stated on the face of the indictment.           Weaver,

905 F.2d at 1476; Morales, 868 F.2d at 1567-68.

     Joinder is proper when “the facts underlying each offense are

so closely connected that proof of such facts is necessary to

establish each offense”.     Weaver, 905 F.2d at 1477 (quoting United

States v. Nettles, 570 F.2d 547, 551 (5th Cir. 1978)).         In Morales,

the Court noted that the government must demonstrate that “the acts

alleged are united by some substantial identity of facts and/or
Case 2:08-cr-00042-JES-SPC Document 95 Filed 12/01/08 Page 3 of 5 PageID 321



participants.”      868 F.2d at 1569.    Under this standard, however,

each defendant need not have been involved in every phase of the

venture    or    even   know   the   roles   and   identities    of   other

participants.      Wilson, 894 F.2d at 1253.

     Even if initial joinder is proper, however, severance may be

granted under Rule 14.     Morales, 868 F.2d at 1568.     As the Eleventh

Circuit said in United States v. Bryan:

     Although the remedy for misjoinder under Rule 8(b) and
     prejudicial joinder under Rule 14 is the same - severance
     and separate trials - the two rules are analytically and
     procedurally distinct. A motion for severance based on
     misjoinder under Rule 8 alleges an error in the
     indictment, and severance must be granted if the
     defendants were improperly joined. Rule 14 comes into
     play only if joinder was initially proper under Rule 8
     but a joint trial would prejudice one or more defendants.
     It is addressed to the discretion of the trial judge.

843 F.2d 1339, 1342 (11th Cir. 1988)(quoting United States v.

Williams, 711 F.2d 748 (6th Cir. 1983), cert. denied 464 U.S. 986

(1983)).

     Defendant does not contend that initial joinder was improper,

but asserts that severance is appropriate under FED . R. CRIM . P. 14.

Zafiro v.       United States, 506 U.S. 534, 538 (1993); Morales, 868

F.2d at 1568.      Such a motion is addressed to the discretion of the

court, and a trial court must balance the prejudice a defendant may

suffer from a joint trial against the public interest in judicial

economy and efficiency.        United States v. Lehder-Rivas, 955 F.2d

1510, 1521 (11th Cir. 1992); United States v. Eyster, 948 F.2d

1196, 1213 (11th Cir. 1991); Cross, 928 F.2d at 1037.           A severance

may be granted only if a joint trial will result in specific and
Case 2:08-cr-00042-JES-SPC Document 95 Filed 12/01/08 Page 4 of 5 PageID 322



compelling prejudice.         Eyster, 948 F.2d at 1213-14.               “Compelling

prejudice” has been held to mean that a jury will not be able to

collate    and     appraise    the     evidence         against   each     defendant

independently.      United States v. Nixon, 918 F.2d 895, 906 (11th

Cir. 1990).       A defendant does not suffer compelling prejudice

simply because much of the evidence at trial is applicable only to

a co-defendant.          United States v. Francis, 131 F.3d 1452, 1459

(11th Cir. 1997); United States v. Smith, 918 F.2d 1501, 1510 (11th

Cir. 1990).       Similarly, a severance is not justified because a

defendant may stand a better chance of acquittal in a separate

trial or the evidence is stronger against a co-defendant.                     Cross,

928 F.2d at 1037, n.21.               There is a legal presumption that

cautionary instructions to the jury to consider the evidence

separately as to each defendant will be adequate to guard against

prejudice.       United States v. Leavitt, 878 F.2d 1329, 1340 (11th

Cir. 1989), cert. denied sub nom. Garces v. United States, 493 U.S.

968 (1989).

     The   Court     finds    that    no       compelling    prejudice     has   been

demonstrated at this point in the case.                     Therefore, the Court

concludes that the motion is due to be denied.                    The Court notes

that there is no prohibition against defendant renewing his Rule 14

motions for severance at a future date if additional facts or

circumstances      are    developed    which      may    demonstrate      compelling

prejudice.       United States v. Benz, 740 F.2d 903, 913 (11th Cir.



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Case 2:08-cr-00042-JES-SPC Document 95 Filed 12/01/08 Page 5 of 5 PageID 323



1984); see e.g., United States v. Van Hemelryck, 945 F.2d 1493,

1500 (11th Cir. 1991)(after initially denying the motions for

severance, the trial court ultimately revisited the question of

severance and severed out two of the co-defendants).

     Accordingly, it is now

     ORDERED

     Defendant George E. Hall, III’s Motion To Sever (Doc. #94) is

DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this            1st    day of

December, 2008.




Copies:
Counsel of Record




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